        Case 3:23-cv-03007-VC Document 31 Filed 12/11/23 Page 1 of 3




SHANNON LISS-RIORDAN (SBN 310719)
(sliss@llrlaw.com)
BRADLEY MANEWITH (pro hac vice forthcoming)
(bmanewith@llrlaw.com)
LICHTEN & LISS-RIORDAN, P.C.
729 Boylston Street, Suite 2000
Boston, MA 02116
Telephone:     (617) 994-5800
Facsimile:     (617) 994-5801

ATTORNEYS FOR PLAINTIFF MARK SCHOBINGER, on behalf of himself
and all others similarly situated


                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION


                                        CASE NO. 3:23-cv-03007-VC
MARK SCHOBINGER, on behalf of himself
and all others similarly situated,

       Plain'ﬀ,                         PLAINTIFFS’ ADMINISTRATIVE
                                        MOTION FOR LEAVE
          v.                            TO APPEAR VIA ZOOM ON
                                        MOTION TO DISMISS
TWITTER, INC. and X CORP.,
                                        Date: December 14, 2023
       Defendants
                                        Time: 10:00 a.m.
                                        Judge: Hon. Vince Chhabria
          Case 3:23-cv-03007-VC Document 31 Filed 12/11/23 Page 2 of 3



       Plaintiff Mark Schobinger hereby respectfully moves that the motion hearing currently

schedule for December 14, 2023, at 10:00 AM take place via Zoom rather than in-person.

Attorney Shannon Liss-Riordan, who is lead counsel for Plaintiff in this matter, is based in

Boston. She also has an in-person argument scheduled the next day, December 15, 2023, in the

D.C. Court of Appeals. It will thus be very difficult for her to appear in person in this matter on

December 14, 2023.1

       Plaintiff has conferred with opposing counsel for Twitter, whose counsel has stated that

Twitter takes no position on this request.



                                              Respectfully submitted,

                                              MARK SCHOBINGER,
                                              on behalf of himself and all
                                              others similarly situated,

                                              By his attorneys,

                                               /s/ Shannon Liss-Riordan
                                              Shannon Liss-Riordan, SBN 310719
                                              Bradley Manewith (pro hac vice forthcoming)
                                              LICHTEN & LISS-RIORDAN, P.C.
                                              729 Boylston Street, Suite 2000
                                              Boston, MA 02116
                                              (617) 994-5800
                                              Email: sliss@llrlaw.com; bmanewith@llrlaw.com




11
        Plaintiff’s counsel inquired with the clerk whether this hearing could be moved to
tomorrow, December 7, 2023, when she will be in San Francisco for an argument in another
matter. The clerk responded that that would not be possible. Given travel schedules and the
upcoming holidays, the next Thursday that counsel could appear in person in San Francisco
would be in January.
          Case 3:23-cv-03007-VC Document 31 Filed 12/11/23 Page 3 of 3




                                     [PROPOSED] ORDER


       IT IS HEREBY ORDERED THAT the parties shall appear for a Zoom videoconference

with the Court on Thursday, December 14, 2023, at 1:30 p.m. The Court will email the parties

directly with further instructions for accessing the videoconference.



IT IS SO ORDERED.




 Dated:          December 11, 2023
                ______________________
                                                     HON. VINCE CHHABRIA
                                                     JUDGE OF THE UNITED STATES
                                                     DISTRICT COURT
